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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 21-cr-670
                  v.                         :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                       Defendant.            :

                              JOINT PRETRIAL STATEMENT

       Pursuant to the Court’s Scheduling Order, ECF No. 25, the parties hereby submit their joint

pretrial statement. Specifically, the following documents are attached or are expected to be filed

in short order:

       Exhibit 1: Proposed Statement of the Case

       Exhibit 2: Proposed Voir Dire

       Exhibit 3: Proposed Verdict Form

       Exhibit 4: Government’s Witness List

       Exhibit 5: Defendant’s Witness List

       Exhibit 6: Government’s Exhibit List

       Exhibit 7: Defendant’s Exhibit List (expected to be filed on July 12, 2022)
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                                              Respectfully submitted,


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